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                          IN THE UNITEDSTATESDISTRICTCOURT
                           FOR THE WESTERN DISTRICT OF TEXAS
                                 SAN ANTONIO DIVISION

DAVIDLENT                                            §
                                                     §
        Plaintiff                                    §
                                                     §
vs.                                                                CIVIL ACTION NO. 5:17-cv-454

STATE AUTO PROPERTYAND
CASUALTY INSURANCE COMPANY                           §
                                                     §
        Defendant                                    §


                                AMENDEDNOTICEOF REMOVAL

TO THE HONORABLE JUDGE OF SAID COURT:

        Pursuant to 28 U. S.C. §§1441(a), 1446 and 1332(a), State Auto Property and Casualty
Insurance Company (hereinafter "State Auto"), submits this Amended' Notice of Removal,
based on diversity jurisdiction, to the United States District Court for the Western District of

Texas, San Antonio Division, of the action styled David Lent vs. State Auto Property and
Casualty Insurance Company, and in support thereof, would respectfully show this Court as
follows:

                                              I. Introduction

1. 1    Plaintiff is David Lent (hereinafter "Plaintiff); Defendant is State Auto Property and
Casualty Insurance Company (hereinafter "State Auto").

1. 2       Plaintiff is the owner of property located at 107 Laramie Drive, San Antonio, Texas

78209. Plaintiff's causesofactionhereinrelated to alleged hail damageto Plaintiffs property
and State Auto's adjustment ofa claim related to the same..


 This notice is being amended solely forthe purpose ofcorrecting Defendant State Auto Property andCasualty
InsuranceCompany'splaceofincorporationandprincipalplaceofbusinessto Iowa.
Doc # 62G2434. DOCX
AMENDEDNOTICEOFREMOVAL                                                                                  PAGE 1
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1. 3     On or about April 25, 2017, Plaintiff sued Defendant in a suit styled David Lent vs.
State Auto Property and Casualty Insurance Company, Cause Number 2017C107537, in the

225th Judicial District Court of Bexar County, Texas and alleged, through various causes of
action, that State Auto breached its contract of insurance with Plaintiff, violated various

provisions of the Texas Insurance Code, violated the Texas Deceptive Trade Practices Act,

committed common law bad faith, engaged in unfair insurance practices, and committed said

violations of the insurance code knowingly.

1.4      On or about May 15, 2017, Defendant State Auto filed an Original Answer, Special
Denials, Affirmative Defenses, Special Exceptions, Request for Disclosure, Rule 193. 7 Notice,
and Jury Demand in response to Plaintiffs Original Petition in state court.

1. 5     Defendant State Auto files this notice of removal within the 30-day time period
required by 28 U. S. C. §1446(b)(3) and within one year of commencement ofthe action.

                                     II. Basis for Removal

2. 1     Removal is proper becausethere iscomplete diversity betweenthecurrent partiesto the
suit. 28 U. S. C. §1332(a); Johnson v. Columbia Props. Anchorage, L. P., 437 F. 3d 894, 899-900

(9th Cir. 2006). Plaintiff is a citizen and resident of the State of Texas. Defendant State Auto

Property and Casualty Insurance Company is a citizen of Ohio, with its place of incorporation
and principal place ofbusiness in Iowa.

2. 2     Based upon the claims asserted by Plaintiff in Plaintiffs Original Petition filed in the
underlying suit, it is believed, and Plaintiff has claimed an amount that exceeds $75, 000. 00,
excluding interest and costs. 28 U. S.C. §1332(a); Andrews v. E. L du Font de Nemours & Co.,
447 F.3d 510, 514-15 (7th Cir. 2006). Plaintiffs Original Petition expressly states that Plaintiff
seeks monetary reliefover $100,000.00.



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2. 3      All pleadings, process, orders, and other filings in the State Court action are attached to

thisnotice asExhibit"A"forall purposeshereinasrequired by 28U. S.C. §1446(a).
2.4       Venue is proper in this district under 28 U. S.C. § 1441(a) because the property made the
subject of this suit is located in this district.

2. 5      Defendant State Auto will promptly file a copy ofthis Notice of Removal with the clerk

ofthe State Court where the action hasbeenpending.
                                             IV. Jury Demand

4. 1      Plaintiff did demand a jury in the State Court action.

        There is complete diversity between the current parties to the suit, and the amount in

controversy exceeds $75, 000. 00 Defendant State Auto Property and Casualty Insurance
Company requests that the Court remove this action from the 225th Judicial District Court of

Bexar County, Texas to the to the United States District Court for the Western District ofTexas.
San Antonio Division.


                RESPECTFULLY SUBMITTED on this the 17thdayofJuly, 2017.

                                                       /s/ Charles B. Mitchell. Jr.
                                                       CHARLES B. MITCHELL, JR.
                                                       State Bar No. 14207000
                                                       Federal ID No. 16627
                                                       LINDSAY P. DANIEL
                                                       State Bar No. 24082894
                                                       NAMAN, HOWELL,SMITH & LEE,PLLC
                                                       306 West 7th Street, Suite 405
                                                       Fort Worth, Texas 76102-4911
                                                       Telephone: 817-509-2025
                                                       Facsimile: 817-509-2060
                                                       Email: Charles. Mitchell/2;;namanhnwell cnin
                                                       Email: ldanLel@namanhowell.com

                                                       ATTORNEYSFORDEFENDANT
                                                       STATE AUTO PROPERTYAND
                                                       CASUALTYINSURANCECOMPANY

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AMENDEDNOTICEOF REMOVAL
                                                                                             PAGE 3
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                               CERTIFICATE OF SERVICE

       I certify that a true andcorrect copy ofthe aboveandforegoing wasservedupon counsel
ofrecord for all parties in the manner listed below, in accordance with Federal Rules of Civil
Procedure on the 17th day of July, 2017.

       r/'a E-Filing
       James M. McClenny
       J. ZacharyMoseley
       Derek L. Fadner
       McClenny Moseley & Associates, PLLC
       411 N. Sam Houston Parkway E.,
       Suite 200
       Houston, Texas 77060

                                                  /s/ Charles B. Mitchell. Jr.
                                                  CHARLES B. MITCHELL, JR.




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                      m THEUNTTEDSTATESDISTRICTCOURT
                      FORTHEWESTERNDISTRICTOFTEXAS
                                    SANANTONIODIVISION

DAVID LENT
                                           s
        Plaintiff                          8
                                           8
v«*                                        §           CTVIL ACTION NO. S;l7-w^0454
                                           8
STATEAUTOPROPERTYAND S
CASUALTYINSURANCB:COMPANY §
                                            8
        Defcndants


                    APPENDGMNDEXOFSTATECOURTPLEADINGS
                                     NOTICEOFREMOVAL

      1. State Court Docket Sheet

      2. Defendant State Auto Property and Casualty Insurance Company's    05/15/2017
         Original Answw> Special Derials, AfiBrmative Defaascs, Special
         Exceptions, Request for DisclSwure. Rxde 193.7 Notice, and Jury
         Demand

      3. Petition for Hail Dansage RMidaiti&l wifc JuryDaaand              04/25/2017

      4. Citation Certified Mail State Auto Property & Casualty Insurance owirwn
         Company, Issued:. 04/27/2017 Rccdved:04/27/2017; Executed:
         05/02^017 Returned 05/08/2017




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  INDEXOFSTATECOURTPLEADUWS                                                   PACE 1
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  Case History
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                                                  CAUSE NO.20l'7Ct07S37

             DAVIDLENT                                                      IN THE DISTRICT COURT OF
                                                                 s
             V.                                                  fi
                                                                 s               BEXARCOUNTY,TEXAS
                                                                  s
             STATEAUTO PROPERTYAND                                s
             CASUALTYINSURANCECOMPANY                                           USAJUDICIALDISTRICT


                              DEFENDANTSTATE AUTO PROPERTY AND CASUALTY
                             INSURANCE COMPANY'S ORIGINAL ANSWER, SPECIAL
                            DENIALS,AFFIRMATIVEDEFENSES,SPECIALEXCEmONS,
                       REQUESTFOR DISCLOSURE.RULE193.1 NOTICE.AND JURY DEMAND

              TO THE HONORABLE JUDGE OF SAIDCOURT:

                        COMK NOW Defisndant State Auto Property and Casualty Inauance Company
              ("Defendant'1or "State Auto"), in toe above-rrfacDcedaid mnRbend cauae, <ud files flas ite

              Oriffaal Answer, Special Denials, AflBnaatiw Dcfcoses, Special Excq»dons» Rcqittsl for

               Disclosure. Ride 193.7 Notice, and Swy Denand in req^aase to the dtegatkms c<nitaincd in

               PlamfiffsOriginal Pethion,allegesandatthetrial hcnofwUlshowasfbtlows:
                                                                  L
                                                       GENERAL DENIAL

                  1.     DefendantStale Auto gci»rally demes each and every, all In siiwdar, Ae allegftriaas
                  contained in Plaintiff's Original Petition and any tdbsequent pleadit^s. . Dd(tenands strict proof
                  Itocofasrequiredby law.

                                                              II.
                                                        SPECIALDENIALS

                  2.      Defendant cxpcssly denies that Plaintiff hascomplied wth all contUtions precedtent for
                  thebringingofthiswtionascontaiDcdinthcpolicyofinnjranccsuaduponuidascootain^in
                  the Texas InswwweCode.


                   Dw#CtU2S<l>UK>CXAPPIRMilTIVE DlTi3KSES,
                  SFECIALEXCKmONS,RBQdKTTORDlSOLOSllRE,RlU 193.7 NtmCE.ANDJlIRVDEMAND                        PACE I
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3.         Defendantqwafically deniesthat ft. hasviohdedany profvis'Mm of tte Texas hawvawe

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OodewMirepidto Flaurtiff'sctmm.

4.          Defendant qscaficaBy dcmes flMEt any proviaon of Chqitcr 542 ofdie Texos bsufemce

CodSewas violated. State Auto complied w^Ihall dcadUnee ngar^ng Plaiiityps claim.

5.         Defendant sspecificalty demcs ttatt il h» been povjded with proper notka under the

Texas Jfwwance Cwk ami the Texw CMl Practice and KiemetSes Code $ 38.002 rcpurimg

vawney's fees, BB the amount of and <ten»»d for .ttoraey fees is an uamutondtlc amoiuat as

compared to the hours, invcauncnt of time, and other tegri facsats to detennine the

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 6.         Defendant specifically deniea that INnUty tt leasonably clear .s it relates to PlaurtiflTs

 claim.

 7.         Defendant spcdfically dcaica that it madte any rcpiwentatkni to Ptotfiff oflicr tfam the

 polky itself.

                                             IIL
                                      AWIRMATIVEDEFENSES

 8.          Defendant fintiKa- states by way ofaffinnadve dcfeauc, if auch be nBoeasary, (he lcnns

 andconditionsofthepolicy.

     9.      DefendantfurtherstatesbywayofaflBnnaitvcdefense,iftacbbeneccasaiy,Defiendantis
     notliableto Plrintiffbecausetheconditioiupiccedattftarccoivayunderthesulgectpolicyhave
     not been satisfied.

     10.     Defendant further ^ates by way of aflirmativc drfcnsc, if roch be necessaiy, that
     Defaidantis not liableto Plaintiffas Defcndart acted m cwaplinncewitii dieTexas Insurance

     Code with reipri to Plaintiff's claim.

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     SFBCIALEXCEmONS,REQUESTFORDl»CU»lIRE,RULE193.7 NOT1CT.ANDJURYDaUNB                         FAGEI
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       Case 5:17-cv-00454-DAE Document 8 Filed 07/17/17 Page 10 of 40




10.       Dcfendmt further states by way of afimnafiw defcKe, if such be wesssaay, that

Defendantis not liableto PlmntiffasDrfendanthada reaaomiUebansfi» itsactionswfthreeard

toPlahntiff'Bclum.

11.       Defendant fiuther siatcs by way of affinnativc dc&asc. if auch be nficcsauy, thai
Defendant is not Uablc to Plaintiff      as   liability   was not   nasoa&bly clwr with wsBtd to   Plantiff's

claim.

12,        Defendant fiather slatw by way of affimadivc defense, if »ud» be sxccssasy. that

Defendant isnot liable to PluntifTfor a( lional danaagc* uthe DefndHBt <Bdnot knowingly or

intentionally violate the Texas Inswance Code or anyotherswuto.

 13.       Defendant findwr states by way of affinnattve defiaase. If auch be necessary, flurt

 Defendantcoiductcda TBMonaMemvcstigationasiifeqdmdbydieTexasJnsuraneeCode.
 14.       Def<mdantfiirthcr   states   by way of affinnadvectefuue,        if such be neoBssaty, dart pHutxvc


 (tomages, if any. are atbjcct tx) tfae caps and linuta as set forth in Ac Texas Civil PrwHce and

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 l«xwes Dcfcndant't lialaility fw punitive damages by clear and c<Mwincing evidence, any award

 of punitive damages would violate Deftndant's due iMw?e» rij^ta guanntecd by the 14ft
 Amendment to the United States Comtitution and by Secricm 19 of Article I of Ae Texas

 Constituti<Hi, Purdicnnope,any daaaagCBfound undtt Ac Texas Insurance Coek or DTPA an

  cappedat nomorediaothreetimesttc anaountofecoBoariicdanu^ea.

  15.        Deftttdant fiatiier rtates by way of affinnative dcfcnM. if auch be ncwwary, that
  DefendantState Auto didnotbreadtits contractwithPlaintiff.

  16.        Defendant furtfier states by way of rf&ranative defense, if sudi be ncctssaty. thtt
  DefendantStateAutocomplred-withall applicablede^Uncswifllregandto PIunriffsclaim.

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   SnriALEXCWTKWS,REX»liESTn» DtSClJOSl'RE,R13LEIW.T NOTICE,AWOJIIWDEMAND                                PAGE 3
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17.        Defiaulant fiirttia-states by wayofafiBnnativeddfense, if suchbeneccs«aiy, fhat Plaintiff
is   only earillcd   to recover for any   loss only that   aaiount   ofsucfa<<uisnrcdt sw interea at the time of

the low as specified by the policy.

18.        Alternatively by way ofaflRnnative defense ifsuchbeaecessaiy, ifPlaitttifflus autained

any covered loss. then Defendant staiwOutihe policy sued uponppowdcs thrt if a to» occurs to

the ixsured, the msincd ahall protert ttie property ftom iurfha" dannagc. Instead ofso pmtectin®
the propK ty after      knowledge oftfic lo».       Plaintiff aUowed      damage   to C(mtinue to the   property.

Under such circumstances, a reaaonable wBmsunsd ownerwould hayeprevaitod tattiaer damagp
 ofhla iwopwly. Therefore, beciuaB ofttris breach, DdEendantis not liabte ftnr anyloas after WKA

 lin» aswhenthePtuntiffdfacovenedlusIOMbutU»<Anoa^mto preventfurtherdamage.
 19.        Altemadvely, and tsaly if PlaiBtiflf is endfled to wy wcawiy hwwn, wfaidi is not

 admitted and which i» expresaly denied. Defendant furtber atates Aat the yAwy sued upon

 prowdcs that tttt insincd coinptuiy^s liability shall TOt exceed die acttul cash value of the
 propcfly at the dme of (he toss ascertained wifit pn^icr deduction ftw dqjnicciatKm, nor Ihc

 amount it would costto repairorwp^vceflte property with material oflike, kindand quality,
     wiA proper ctedactfonfer depieciationwitiiin a reasonable time aflertbc toss, norshall it exceed

     theintCTwtoftheinsured.DefendantinsistsandnliesuponAisprovitionto defienaeofthiscase.
     20.     to the (dtemativc and by way of affirmative dcfenae, if Bud»be necessary, although the
     said policy provides for icplaccmeot cost coverage under certain curcumstances. PlmatiflF ia not

     entitied to sudi ance (I) so dectfon therefore wasmade in any proofoftora; (2) xw liflbSliiy
     accrues dierwfuntil actual repair w replacement is cmnpleted within dtt maximum time Kmit as

     provided for in the policy, and (3) fl»c liability undersuchcovera^ cannotexceedAe amount
     actually and ntacesgaily expended in npturing and npladng dte damage. To Defendant's

      DorilMMaS60aj»OCXAlTIRMATIW DEFENSES,
      sreciAt ExcEmoNs,REQIIESTFORDisrcixmiRB,Riiu: »3.7 NOTICE,ANBsvsa7 MKW                                PAGE4
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knowlcd^, no w^an have been accomplished. Should Defendant be mutdcen in all of the

abonw. it has alao awerta that to be ratided to aid replacanatt cost eowragie. Plaintiffmutt

establishttut dwwMe amoumofthe iasunucciqtplicablcto thedcBcribeddwdlingwasagbty

percent (80%) or mwe of die full replacement cost of die dwelling at the tinw of the loss.

Defemlant insists iqwn theseprovitMMis in defeaueoftt» cltdnui madehenm.

21.     Altemafivdy, and by way of affirmative drfcMC if n»h be atccssaiy, die policy dao

provides that a sum of dollus shall be deductedfixwnthe aggregateanaountof each loss, and

Defendant asserts and relies upon said dedactibte dause wUdi is appl'Ctdde to the PluntiffB

a]lcg«Ik>aa.

22.     Altcnudlwly, and by way of affiimadve defense if sudi be neccnary, the policy also

 provides that any and all jaynusiits xnade for damagCT occarring and covtaed undw flte policy

 shallbepayabteto bothdieinsurers)andanynnCTtgagcholdw(8)namedinAcpolicy»thensfore
 noawardftwdamagesunderthepolicymaybeenteredw^flioutnamia®themm^agcholders).
                                             TV.
                                      SPECIALEXCEPTIONS

 23.     DcfendmtStateAuto^NsciallycxwptewhereinPlainliffdlegesboilerplateviolationsof

 the Texas Iwsurance Cods and Deceplfve Trmk Procllces Act wiihout even providug a sununary

 ofdie conduct whichsupports swdt claims becauac said dlegations are v^ue. indefinite, and do

  not q?ecifically stt forth the flactual all^tions qpon which Pldntiffis nlying (q><»to support

  these causes of action. Forihwe reasons, Defiuidant State Airto is not app'iscd of what proof it
  will be   required to meet unda Aesc allcgatims; ihcsrefiMic, it cannot   pK^erly prepac ite (fcfcnses

  tofteseaBegations. SudalIeB«i(»isshouldbestrictei.




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   SPECIALEXCEPTIONS,REOl'ESTFORDlSCLOSl'RE,Riu;19S.7 NomcE,ANDJuavDEMAW                         PAGE 5
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                                             V.
                                        JURY DEMAND

24.       Stud Defendant denunds a jwy trial.

                                                 VI.
                                 REQUEST FOR DISCLOSURE

25.       Under Texas Jttde cf Ciwl Procfdwv 194, said Defimdant requests tfiat Plaiadff

disckacs, widun 30 days of the service offlrisrequwt, the iDftinaation or material dcacribed in

Rule 194^.

                                              VII.
                                       RULE 193.7 NOTICE

26.        Defenduat bndby pvea notice to all puliea ftal all docunacnts pioduoed m icspoiwc to

any party's dlacovay requests shall be treued u if self-aathenticfttcd for u»e at any pretrial
 and/ortrial oftiiis case.

                                                  VII.
                                                PRAYER

            WHEREFORE. PREMISES CONSIDERK3. Defendant State Auto Property and
 Casualty Insunnce Company reapectfully pays (hat tte Court dinniss flus nut OT narier

 judgment that the Plaintifftakes nothing, assess costs agunst dw Plaiatjff, and award all odier

 and fiirthcr relief, at law or in equity, to whichAwsmd Drfcndant may showitgdfjustly eatitled.




   Boc«(l42S«KLDOCXAFnRMATIVEDEFENSES,
   SrrciAL ExcErTKms, IUEOIIECT FORDBCLOSURE, RIILE 193.7 Nonce, ANDSvm D/SSAAW           PAGE*
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  Case 5:17-cv-00454-DAE Document 8 Filed 07/17/17 Page 14 of 40




      RESPECTFULLYSUBMnTEDonthisthe15thd<yofMay.2017.

                                                 &/OudffiB.MiteheU. Jr.
                                                 CHARLES B. MTTCHELL, JR.
                                                 StateBarNo. 14207000
                                                 PcdiaalIDNo. 16627
                                                 UNDSAY P. DANIEL
                                                 StateBarNo.24082894
                                                 NAMAN.HOWEU^ SMrm &tm, PLLC
                                                  306WedTtfaStreet,Suhe405
                                                  Port Worth, Texas 76102-4911
                                                  Tdcphone:M7-S(»9-2025
                                                  Pacamite: 817-509-2060
                                                  Email: Qiariu.Miteiidl^namaiihDwell.com
                                                  EniaU: IdBnicl(®nainaihowell.isiim

                                                  ATTORNEYSFORDEFENDANT
                                                  STATBAUTOPROPEBTYAND
                                                  CASUALTY INSURANCE COMPANY

                               CERTIFICATE OF SERVICE

       I cardiyflat a true andcorrectcopyoftheftboveandfor^MDgwasnrvaduponcoui»el
ofnscord for all paxGss in the manner Kstod below, in accwdtaaec with Ibdcs 21 and 21(a) oftlu
Texas Rules ofG^l Procedure, on dw 15thdayofMay, 2017.

       VfaE-PWiif
       JamesM. McClenny
       J.ZadfcuuryMoseley
       Derek L. Padow
       McClamy Mosdcy& Associates,PLLC
       411 N. Sam Houston ftukway E.,
        Suite200
        Houston, Torn 77060

                                                   /&/Charles B. Miteheil. Jr.
                                                    CHARLES B. MITCHELL, JR.




  Doo»AII«l«OXOOCXAFnRMATIVC OEnWSCS,
 sreciAL ExcEmoNs. IIEQIIEST FW Disctosimi, Vttvc. iw. 7 NOTICE, ANBJKRV iteMAm         PAGE T
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                                            VERIFICA'nON
STATEOF           '/ .-i^                        §
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COUNTY OF             _zW-.                      s

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tcatUScd:

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Disdosun,Rule 193.7 Notice,andSay Demand.The fiictstttlfid in SedwmIt Speriril Dcdiab
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Case 5:17-cv-00454-DAE Document 8 Filed 07/17/17 Page 26 of 40




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Case 5:17-cv-00454-DAE Document 8 Filed 07/17/17 Page 28 of 40




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Case 5:17-cv-00454-DAE Document 8 Filed 07/17/17 Page 29 of 40




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Case 5:17-cv-00454-DAE Document 8 Filed 07/17/17 Page 30 of 40




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Case 5:17-cv-00454-DAE Document 8 Filed 07/17/17 Page 32 of 40




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Case 5:17-cv-00454-DAE Document 8 Filed 07/17/17 Page 34 of 40




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Case 5:17-cv-00454-DAE Document 8 Filed 07/17/17 Page 35 of 40




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          c.         Tht dtfe and nitnner in lAnKfc StBte Au»     fropCBty   A   CusBilty   auunacc   Craqpuy

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